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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


KARLTON A. MAYDWELL,

         Plaintiff,
                                           Case No. 3:19-cv-00051-S
v.
                                           Honorable Karen Gren Scholer
CIARA FINANCIAL SERVICES, INC. d/b/a
CLAY COOLEY AUTO GROUP,

         Defendant.


              PLAINTIFF’S MOTION TO DISMISS DEFENDANT
           CIARA FINANCIAL SERVICES, INC’S COUNTERCLAIM




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        NOW comes KARLTON A. MAYDWELL (“Plaintiff”), by and through his attorneys,

 Sulaiman Law Group, Ltd., and pursuant to Fed. R. Civ. P. 12(b)(1) hereby moves to dismiss

 the   counterclaims   of   Defendant,    CIARA     FINANCIAL        SERVICES,      INC.    d/b/a

 CLAY COOLEY AUTO GROUP, (“Defendant”), as this Court lacks subject-matter jurisdiction

 over Defendant’s permissive counterclaims. In support thereof, Plaintiff hereby states as

 follows:

I.      PRELIMINARY STATEMENT

       Plaintiff’s Complaint asserts violations of the Telephone Consumer Protection Act

(“TCPA”) pursuant to 47 U.S.C. § 227, et seq., and the Texas Debt Collection Act (“TDCA”)

pursuant to Tex. Fin. Code Ann. § 392.302 et al. (Dkt. 1, Plaintiff’s Complaint). The TCPA is a

federal law that prohibits any entity from calling another person’s cellular phone using an

automatic telephone dialing system (“ATDS”) or prerecorded messages unless the called party has

previously provided the caller with his or her consent to do so. The TCPA further allows for a

called party to revoke any previously granted consent. See In the Matter of Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Rcd. 7961, 7993-94 (2015) (“2015

FCC Order”); see also ACA Int’l v. FCC, No. 15-1211, 2018 U.S. App. LEXIS 6535. *4-5 (D.C.

Cir. March 16, 2018) (“We uphold the [FCC’s] approach to revocation of consent, under which a

party may revoke her consent through any reasonable means clearly expressing a desire to receive

no further message from the caller”).

       Plaintiff’s Complaint alleges that Defendant violated the TCPA and TDCA by calling

Plaintiff’s cellular phone not less than 150 times, using prerecorded messages, after Plaintiff had

demanded that Defendant stop contacting him. While Plaintiff’s claims clearly deal with unlawful

phone calls, Defendant’s counterclaims have nothing to do with phone calls at all. Rather,


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Defendant is asserting claims for amounts allegedly owed on a defaulted automobile loan, which

is not properly before this Court as a compulsory counterclaim.

       As will be detailed below, Defendant’s counterclaims must be dismissed, as they are

permissive and fail to properly allege subject matter jurisdiction.       In addition, public policy

strongly favors the dismissal of these retaliatory counterclaims, as allowing such claims to proceed

would dissuade TCPA plaintiffs from asserting their statutory rights.

II.     FACTUAL BACKROUND

       Several years ago, Plaintiff financed the purchase of his automobile through Defendant.

(Dkt. 1, ¶ 9). Plaintiff eventually experienced financial hardship, causing him to fall behind on his

monthly payments to Defendant, thus incurring debt (“subject debt”). Id. at ¶ 10. Shortly

thereafter, “Plaintiff began receiving calls to his cellular phone” from Defendant, who was seeking

to collect upon the subject debt. Id. at ¶ 11. Upon answering Defendant’s phone calls, Plaintiff

was subjected to prerecorded messages asking Plaintiff to hold for a representative. Id. at ¶ 15.

Thereafter, Plaintiff had to endure a noticeable pause, having to say “hello” several times, before

he was connected with a representative of Defendant’s. Id. at ¶ 16. Upon speaking with a

representative, Plaintiff was informed that Defendant was attempting to collect upon the subject

debt. Id. at ¶ 17. Annoyed by Defendant’s persistent contacts, including multiple phone calls

during the same day, as well as four phone calls within one hour, Plaintiff “demanded that

Defendant cease calling his cellular phone.” Id. at ¶¶ 18-20. Plaintiff “has even reiterated his

demands that Defendant stop calling his cellular phone on multiple occasions,” yet, Defendant

continued to bombard Plaintiff’s cellular phone with not less than 150 phone calls. Id. at ¶¶ 21-22.

Fed up with Defendant’s harassment, Plaintiff invoked his statutory rights and filed this civil action

against Defendant. Id. at ¶ 23.



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         On April 18, 2019, Defendant answered Plaintiff’s Complaint and filed a counterclaim

 for breach of contract, suit on sworn account, and quantum meruit, seeking no less than

 $12,938.58, pre-judgment and post-judgment interest permitted by Texas law, and reasonable

 attorneys’ fees and costs. (Dkt. 40, Defendant’s Counterclaim, ¶ 73). As discussed below,

 Defendant’s counterclaims appear to be a retaliatory counter-measure in response to Plaintiff

 invoking his statutory rights under the TCPA and the TDCA. While the reasoning behind the

 filing of the counterclaims is clear – it is meant to “counter” the statutory damages Plaintiff is

 seeking in this civil action, a close examination of the counterclaim demonstrates that it should

 be denied in its entirety.

 III.    STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(b)(1) allows a party to assert lack of subject-matter

jurisdiction as a defense to suit. Fed. R. Civ. P. 12(b)(1). Federal district courts are courts of limited

jurisdiction and may only exercise such jurisdiction as is expressly conferred by the Constitution

and federal statutes. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct.

1673, 128 L. Ed. 2d 391 (1994). A federal court properly dismisses a case for lack of subject matter

jurisdiction when it lacks the statutory or constitutional power to adjudicate the case. Home

Builders Ass'n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). "The burden

of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting jurisdiction." Ramming v.

United States, 281 F.3d 158, 161 (5th Cir. 2001), cert. denied, 536 U.S. 960, 122 S. Ct. 2665, 153

L. Ed. 2d 839 (2002). In ruling on a Rule 12(b)(1) motion, the court may consider any one of the

following: (1) the complaint alone; (2) the complaint plus undisputed facts evidenced in the record;

or (3) the complaint, undisputed facts, and the court's resolution of disputed facts. Lane v.

Halliburton, 529 F.3d 548, 557 (5th Cir. 2008).


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IV.     LEGAL ARGUMENT

        A.      DEFENDANT’S COUNTERCLAIMS ARE PERMISSIVE AND THIS
                COURT DOES NOT HAVE SUBJECT MATTER JURISDICTION
                OVER THEM

       Plaintiff’s TCPA claim is based on Defendant’s illegal activities in constantly and

consistently placing prerecorded collection calls to Plaintiff’s cellular telephone after Plaintiff

had revoked consent. To prove that a defendant violated the TCPA in a case involving a cellular

phone, a plaintiff must establish that the defendant made a call “using an automatic telephone

dialing system or artificial or prerecorded voice.” Ybarra v. Dish Network, L.L.C., 807 F.3d 635,

at *11 (5th Cir. 2015). To this end, Plaintiff has alleged that Defendant violated the TCPA by

using prerecorded messages and an ATDS to place at least 150 calls to his cellular phone after

he requested, on multiple occasions, that Defendant stop calling him. (Dkt. 1, ¶¶ 28-29). While

it is likely that Defendant placed these calls to Plaintiff’s cellular phone in reference to the

subject debt (See Id. at ¶ 11), the debt and the amount of the same is immaterial to Plaintiff’s

claim under the TCPA. For purposes of proving his TCPA claim, the amount and character of

Plaintiff’s debt does not in any way impact Plaintiff’s ability to recover under the TCPA. A

consumer cannot be harassed into submission for simply owing money. In fact, the purpose

behind the enactment of the TCPA was to protect consumers from unsolicited and unwanted

communications. The facts and circumstances of Plaintiff’s TCPA and TDCA claims have

nothing to do with the validity of the subject debt, and Defendant’s counterclaims are thus clearly

permissive in nature.

             1. The claims asserted in this action do not arise from the same aggregate of
                operative facts and there is no logical relationship between the two parties’
                claims. Therefore, Defendant’s counterclaims must be considered
                permissive, for which there is no subject matter jurisdiction.



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       Pursuant to Federal Rule of Civil Procedure 13(a)(1)(A), a compulsory counterclaim

“arises out of the transaction or occurrence that is the subject matter of the opposing party’s

claim.” Fed. R. Civ. P. 13(a)(1)(A). To determine whether a claim is permissive or compulsory,

courts look to the “logical relation” test, which sets a loose standard permitting a broad

interpretation in the interest of avoiding a multiplicity of suits and fairness to parties. See

Diamond v. Terminal Ry. Alabama State Docks, 421 F.2d 228 (5th Cir. 1970). Such logical

relationship exists between the plaintiff’s original claim and a defendant’s counterclaim “when

the same operative facts serve as the basis of both claims or the aggregate course of facts upon

which the claim rests activates additional legal rights, otherwise dormant, in the defendant.”

Brewster v. Wardlaw Claims Service, LLC, No. 6:16-CV-00170-RP-JCM, 2016 U.S. Dist.

LEXIS 194509 (W.D. Tex. Aug. 2, 2016). Defendant’s counterclaims do not arise from the

same aggregate of operative facts as Plaintiff’s claim for illegally placed phone calls, as

Defendant is bringing counterclaims under breach of contract, suit on sworn account, and

quantum meruit theories, regarding a defaulted loan. Defendant has made no showing that the

parties are of diverse citizenship, nor do Defendant’s counterclaims meet the minimum amount

in controversy requirement. Thus, Defendant’s counterclaims may only go forward if they are

compulsory. Because these counterclaims are permissive and Defendant fails to offer any basis

for this Court to assert supplemental jurisdiction, the couterclaims must therefore be dismissed

for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(1).

       Luckily for the parties here, there are recent decisions that speak directly to the issue at

hand. For instance, in Ensz v. Chase Bank United States Na, No. 18-cv-2065-CJW-MAR, 2019

U.S. Dist. LEXIS 2148 (N.D. Iowa Jan. 7, 2019) the plaintiff there brought a two-count

complaint alleging violations of the TCPA. Defendant Chase Bank, similar to Defendant here,


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 subsequently brought three counterclaims for breach of contract, account stated, and quantum

 meruit, based on the allegations that pursuant to a written agreement with plaintiff, defendant

 issued a credit card account in plaintiff’s name, and that plaintiff incurred $4,742.90 in charges

 that are now past due. Id. In response, the plaintiff filed her motion to dismiss under Federal

 Rule of Civil Procedure 12(b)(1) arguing that the Court lacks subject matter jurisdiction over

 Defendant’s counterclaims. Id. In Ensz, the court sought to determine the following two issues:

 1) Whether defendant's permissive counterclaims formed a part of the same case or controversy

 as plaintiff's claims; and 2) if so, whether compelling reasons exist for the Court to decline

 jurisdiction over defendant's counterclaims. Id. The court ultimately found that the plaintiff’s

 TCPA claims were not premised on the existence or validity of any underlying agreement with,

 or a debt owed to, defendant and that defendant’s counterclaims did not derive from the same

 common nucleus of operative facts. Id at *15. Moreover, the court also held that even if

 defendant’s counterclaims formed a part of the same case or controversy as plaintiff’s [TCPA]

 claims, the Court would still decline to exercise jurisdiction over the counterclaims. Id. The

 court reasoned that: “The chilling effect of defendant’s counterclaims on future TCPA claims

 undermines the remedial purpose of the TCPA and constitutes an exceptional circumstance

 permitting the Court to decline jurisdiction under Section 1367(c)(4). Id at *20. The court in

 Ensz granted Plaintiff’s Motion to Dismiss Counterclaim pursuant to Rule 12(b)(1).

       Ensz is not alone in this stance, as even more recently, the Western District of Texas

addressed this same issue in Salas v. Ford Motor Credit Co., LLC, No. 1:18-CV-748-RP, 2019

U.S. Dist. LEXIS 57182 (W.D. Tex. Apr. 3, 2019). In Salas, the plaintiff similarly filed suit for

alleged violations of the TCPA. In response, the defendant there filed a counterclaim for breach

of contract, in an attempt to recover an outstanding balance owed on the automobile. In Salas, the

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Honorable Robert Pitman dismissed the defendant’s counterclaim, finding it to be permissive in

nature, and stated, “the claim and counterclaim turn on distinct sets of facts that relate to separate

provisions in the auto loan contract. The Court finds that there is not a logical relationship between

whether Salas consented to be autodialed (or was in fact autodialed) and whether she made the

contractually required payments for her car.” Salas, U.S. Dist. LEXIS 57182, at *7.

        Other courts have also widely agreed with the line of reasoning found in Salas and Ensz.

For instance, the court in Peterson v. United Accounts, Inc., 638 F.2d 1134 (8th Cir. 1981)

addressed whether a Plaintiff’s Federal Debt Collection Practices Act (“FDCPA”) claim was

compulsory or permissive to a pending state claim by a debt collector for breach of contract for

failure to pay the debt owed. Peterson, 638 F.2d at 1135. 1 There, the defendant filed suit in state

court to collect payment of debts owed by the plaintiff. Id. While that action was pending, the

plaintiff filed a counterclaim against the defendant for violating the FDCPA by utilizing unfair

means to collect the debt. Id. The court there was faced with the issue of whether an FDCPA claim

was compulsory or permissive to the state claim. Id. at 1136. The Peterson court found that the

plaintiff’s FDCPA claim was permissive, not compulsory, reasoning:

                  [T]he circumstances giving rise to the original debt are separate
                  and distinct from the collection activities undertaken by
                  [Defendant]. While the debt claim and the FDCPA counterclaim
                  raised here may, in a technical sense, arise from the same loan
                  transaction, the two claims bear no logical relation to one another.
                  Although there is some overlap of issues raised in both cases as a
                  result of the defenses raised in the state action, the suit on the debt
                  brought in state court is not logically related to the federal action
                  to enforce federal policy regulating the practices of the collection
                  debts. Id. at 1137.

 1
   Like the TCPA, the federal FDCPA statute was also enacted to protect the rights of consumers against,
 inter alia, the harassing conduct of third party debt collectors. 15 U.S.C. § 1692 et seq. Similarly, the FDCPA
 prohibits debt collectors from using harassing conduct to collect debts from consumers including, but not
 limited to, prohibiting debt collectors from placing excessive calls to consumers. 15 U.S.C. § 1692d.


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        Here, Defendant’s counterclaims rest solely on the interpretation of Defendant’s

contract with Plaintiff, the amounts paid under the contract, and the amounts owed under the

contract, just as in Peterson. Id. Other than the incidental fact that the alleged debt Defendant

sought to collect through its repeated calls involves the same debt for which Defendant is suing

Plaintiff, there are no other common facts. It cannot be said that the claims arise from the same

aggregate of operative facts per the “logical relation” test. In fact, the operative facts of Plaintiff

and Defendant’s respective claims are wholly unrelated. See Peterson, 638 F.2d at 1136-37.

        As if this authority was not enough, the Eastern District of Missouri also examined this

very issue in Riazi v. Ally Financial, Inc., No. 4:17CV1705JCH, 2017 U.S. Dist. LEXIS 157011

(E.D. Mo. Sep. 26, 2017). In Riazi, the Plaintiff alleged violations of the TCPA against an

automobile finance company for placing collection calls to Plaintiff attempting to collect past

due car payments. Defendant responded with a counterclaim attempting to seek a judgment of

$16,052.43, finance charges, and attorneys’ fees and costs. Id. at *3. The defendant in Riazi

argued that supplemental jurisdiction is proper over a breach of contract counterclaim in

relation to a claim under the TCPA because it forms part of the same case or controversy as

Plaintiff’s TCPA claim. Id at *3-4. In striking down the defendant’s argument, the Riazi court

stated that while it is “likely that the reason [Ally] placed these calls to [Riazi’s] cell phone was

related to the debt which is the subject of Ally's counterclaim, the Court finds that the operative

facts of Ally's breach of contract counterclaim are distinct and separate from the operative facts

necessary for Riazi’s proving her TCPA claim. In particular, the existence of a contract

between Riazi and Ally, Riazi’s default under the contract, and the amount and nature of Riazi’s

alleged debt are not relevant to Riazi proving her TCPA claim. Considering the necessary



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elements of a TCPA claim and the necessary elements of a breach of contract claim, the Court

found that the proof necessary to establish Riazi’s TCPA claim and Ally’s counterclaim differ.”

Id. at * 12-13. The court went on to hold that Riazi’s TCPA claim and Ally’s breach of contract

counterclaim are not derived from a common nucleus of operative facts, and therefore, this

Court does not have supplemental jurisdiction over Ally’s counterclaim. Id. at *13. See also

e.g., Ramsey v. GM Fin. Co., 2015 U.S. Dist. LEXIS 143650, 2015 WL 6396000, at *2 (M.D.

Tenn. Oct. 22, 2015) (unreported) (“Although Plaintiff’s [TCPA] claim, from a broad

perspective, arose from the underlying debt upon which Defendant sues, a closer look reveals

that the operative facts from which Plaintiff’s federal claim arose are separate and different

from the operative facts from which Defendant’s state law [breach of contract] claim arose.”;

“The proof needed to establish Defendant’s violation of the TCPA (e.g., calls made, without

express consent, with an automatic telephone dialing system or an artificial or prerecorded

voice) is different from the proof needed to establish Plaintiff’s breach of the Contract (e.g.,

existence of a valid contract, default, damages).”).

       Since this identical issue has been ruled on time and again, Plaintiff asks that this

Honorable Court follow the reasoned opinions set forth in this Motion and dismiss Defendant’s

counterclaims.

           2. This Court does not have subject matter jurisdiction over Defendant’s
              permissive counterclaim as the counterclaim does not have its own
              independent basis for federal court jurisdiction.

       If Defendant’s counterclaims are not compulsory, they are permissive and thus must

have an independent jurisdictional basis. See Employers Ins. v. United States, 764 F.2d 1572,

1576 (Fed. Cir. 1985), and if there is no such independent jurisdictional basis, courts will

exclude the counterclaim from the case. See First Cmty. Credit Union v. Levison, 395 S.W.3d

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571, 579-81 (Mo. Ct. App. 2013) (internal cites omitted). Once this Court determines

Defendant’s counterclaims to be permissive rather than compulsory, this Court may not exercise

supplemental jurisdiction over the counterclaims. Particularly, many judges throughout the

nation recognize that federal courts have supplemental jurisdiction over compulsory

counterclaims, but permissive counterclaims “require a basis of jurisdiction independent from

that supporting the main claim.” MCI Telecommunications Corp. v. Logan Group, 848 F. Supp.

86 (N.D. Tex. 1994); see also Hart v. Clayton-Parker and Associates, Inc., 869F. Supp. 774,

776 (D. Ariz. 1994) (citing Unique Concepts, Inc. v. Manuel, 930 F.2d 573, 574 (7th Cir.1991))

(emphasis added); Charles Alan Wright, Arthur R. Miller and Mary Kay Kane, Federal Practice

and Procedure, § 1422 (1989) (noting that while federal courts have jurisdiction over

counterclaims, permissive counterclaims must be supported by independent grounds for federal

jurisdiction). Defendant cannot even suggest that its common law counterclaims have an

independent basis for Federal jurisdiction, as Defendant failed to allege any facts to suggest the

same. Accordingly, this Court must dismiss Defendant’s Counterclaims for lack of subject

matter jurisdiction.

       B.      PUBLIC POLICY REQUIRES THE COURT TO DECLINE TO
               EXERCISE SUPPLEMENTAL JURISDICTION OVER THE
               PROPOSED COUNTERCLAIM

       The only possible reason that Defendant seeks to join its state law counterclaims to

Plaintiff’s federal statutory claim is to gain “leverage” and do “damage control” by offsetting

Plaintiff’s statutory claims, and possibly dissuade this Plaintiff, and other consumers, from

asserting their federal rights regarding an underlying debt. This motivation runs afoul of the

intent of the TCPA in protecting the rights of consumers. Defendant should not be allowed to

utilize its wholly unrelated collection claim against Plaintiff as a means of mitigating its damages


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in the pending TCPA action.

       If the Court does determine that there exists even a loose factual connection between

the claims, it is still within the district court’s discretion as to whether or not to exercise

supplemental jurisdiction. The Supreme Court of the United States held, “[o]ur decisions have

established that pendent jurisdiction ‘is a doctrine of discretion, not of [Defendant’s] right,’ and

that district courts can decline to exercise jurisdiction over pendent claims for a number of valid

reasons.” City of Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 172 (1997) (citing United

Mine Workers v. Gibbs, 383 U.S. 715, 726-727 (1966)).

       The Northern District of New York examined this issue in Nichols v. Niagara Credit

Recovery, Inc., No. 5:12-cv-1068 (MAD/TWD), 2013 U.S. Dist. LEXIS 64671 (N.D.N.Y. May

7, 2013). In Nichols, the plaintiff alleged that the defendant debt collector placed excessive

calls in violation of the TCPA and the FDCPA, and the defendant responded with a collection

action counterclaim. Nichols, 2013 U.S. Dist. LEXIS 64671 at *4. The Nichols court declined

to extend jurisdiction over a collection action counterclaim, stating that the defendant’s

collection action counterclaim would predominate over the plaintiff’s TCPA and FDCPA

claims, as “the evidence required to prove the breach of contract claim is entirely separate from

that related to Plaintiff’s FDCPA claims[;]” therefore, “[e]ntertaining [Defendant] NCR’s

breach of contract claim would thus result in a ‘mini trial regarding the plaintiff’s actual liability

on the debt that the defendant was attempting to collect,’ unnecessarily allowing the breach of

contract claim to predominate over Plaintiff’s FDCPA claims.” Id. at *22 (citing McCartney v.

First City Bank, 970 F.2d 45, 46 (5th Cir.1992)). The Nichols court pointed to the public policy

interest in declining to hear the defendant’s counterclaim. Quoting to Leatherwood v. Universal

Business Service, Co., 115 F.R.D. 48 (W.D.N.Y. 1987), a similar case in the Western District


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of New York, the Nichols court held:

                [T]o allow a debt collector defendant to seek to collect the
                debt in the federal action to enforce the FDCPA might well
                have a chilling effect on persons who otherwise might and
                should bring suits such as this…Given the remedial nature of
                the FDCPA and the broad public policy it serves, federal courts
                should be loath to become immersed in the debt collection suits
                [brought by] the target of the very legislation under which a
                FDCPA Plaintiff states a cause of action. Nichols, 2013 WL
                189947 at *8 (citing Leatherwood, 115 F.R.D. at 50).

The Nichols court’s reasoning may be equally applied to the case at bar. Defendant’s

counterclaims would undoubtedly predominate over Plaintiff’s TCPA claim, as the evidence

required to prove the respective claims are wholly distinct. If the Court does determine that

there exists even a loose logical relation between the claims, it is still within the district court’s

discretion as to whether or not to exercise supplemental jurisdiction. Lucarino v. Con-Dive,

LLC, No. H-09-2548, 2010 U.S. Dist. LEXIS 20075 (S.D. Tex. Mar. 5, 2010)

       In another similar case from the Eastern District of California, the court declined to

extend jurisdiction over a collection action counterclaim, finding that per 28 U.S.C. §

1367(3)(4), compelling reasons existed to decline jurisdiction. Sparrow v. Mazda American

Credit, 385 F.Supp.2d 1063, 1066 (E.D. Cal. 2005). In that case, the court found the claims to

have a logical factual relationship, yet still declined to exercise jurisdiction over the

counterclaim collection action and held:

                Even if supplemental jurisdiction exits over Defendant’s
                counterclaims, a court may decline to exercise that jurisdiction
                where compelling reasons exist. In a case such as this one,
                strong policy reasons favor declining to exercise jurisdiction.
                As the court states in Leatherwood [115 F.R.D. 48 (W.D.N.Y.
                1987)], allowing a debt collector to bring an action for the
                underlying debt in a case brought under the FDCPA may deter
                litigants from pursuing their rights under that statute.



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                [T]o allow a debt collector defendant to seek to collect the debt
                in the federal action to enforce the FDCPA might well have a
                chilling effect on persons who otherwise might and should bring
                suits such as this…Given the remedial nature of the FDCPA and
                the broad public policy it serves, federal courts should be loath to
                become immersed in the debt collection suits [brought by] the
                target of the very legislation under which a FDCPA Plaintiff
                states a cause of action.

                111 F.R.D. 48, 50 (W.D.N.Y. 1987) (quoting Roberts v. Nat’l
                Sch. Of Radio & Television Broadcasting, 374 F.Supp. 1266,
                1272 (N.D. Ga. 1974). A major purpose of the FDCPA is to
                protect individuals from unfair debt collection practices
                regardless of whether the individual actually owes a debt. Baker,
                677 F.2d at 777 (“The FDCPA is designed to protect consumers
                who have been victimized by unscrupulous debt collectors,
                regardless of whether a valid debt exists.”); McCartney, 970 F.2d
                at 47 (“The Act makes debt collectors liable for various ‘abusive,
                deceptive, and unfair debt collection practices’ regardless of
                whether the debt is valid.”); Keele, 149 F.3d at 594 (“[T]he
                plaintiff who admittedly owes a legitimate debt has standing to
                sue if the [FDCPA] is violated by an unprincipled debt
                collector.”).

                Strong policy reasons exist to prevent the chilling effect of
                trying FDCPA claims in the same case as state law claims for
                collection of underlying debt. This policy satisfies the
                exceptional circumstances requirement to support an order
                declining to exercise supplemental jurisdiction over Defendant’s
                state law claims to enforce the debt. Sparrow, 385 F.Supp.2d
                1063 at 1070-1071 (emphasis added) (internal citations in the
                original).

The reasoning of the authority cited herein applies directly to this matter, and allowing

Defendant to litigate its collection action in Federal court would run contrary to the TCPA’s

public policy of protecting the privacy interests of telephone subscribers, and would dissuade

consumers who owe an alleged debt from seeking to enforce their rights under the TCPA.

Accordingly, even if this Court determines that the analysis regarding jurisdiction does not end

with the “substantial factual relationship” test or the “logical relationship” test and concludes


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that Defendant’s counterclaims have sufficient nexus to Plaintiff’s claims under the TCPA,

compelling reasons exist to decline jurisdiction.

V.      CONCLUSION

        This Honorable Court should dismiss Defendant’s counterclaims for lack of subject

 matter jurisdiction. As found by the vast number of courts that have addressed this precise issue,

 Defendant’s counterclaims should be regarded as permissive only, and not compulsory. Where

 a permissive counterclaim does not have its own independent basis for federal court jurisdiction,

 this Court may not exercise supplemental jurisdiction over the Counterclaim. Even if the Court

 determines there exists more than a mere incidental relationship between the claims, Plaintiff

 asks that this Court deny subject matter jurisdiction for public policy reasons.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order

 dismissing Defendant’s counterclaims, and for any additional relief deemed appropriate.

Dated: July 29, 2019                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

The undersigned, one of the attorneys for plaintiff, certifies that on July 29, 2019, he caused a copy
of the foregoing, PLAINTIFF’S MOTION TO DISMISS CIARA FINANCIAL, INC.’S
COUNTERCLAIM, to be served electronically via CM/ECF system on:

                                      DOWNS & STANFORD PC
                                           R. Lynn Fielder
                                            Rod Patterson
                                   2001 Bryan Street, Suite 4000
                                         Dallas, Texas 75201
                                   lfielder@downsstandford.com
                                  rpatterson@downsstanford.com



                                                      Respectfully submitted,

                                                      s/ Taxiarchis Hatzidimitriadis
                                                      Taxiarchis Hatzidimitriadis, Esq.




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